Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 1 of 11




                    Exhibit C
        Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 2 of 11

                         CONFIDENTIAL - ATTORNEY'S EYES ONLY

                                                                   Page 1

 1                          UNITED STATES DISTRICT COURT
 2                        NORTHERN DISTRICT OF CALIFORNIA
 3                                     ---oOo---
 4      THRESHOLD ENTERPRISES LTD, a
        Delaware corporation,
 5
                    Plaintiff,
 6
        vs.                                        No. 5:22-cv-06483-PCP
 7
        LIFEFORCE DIGITAL INC., a
 8      Delaware corporation,
 9                  Defendant.
        ___________________________/
10
11
12
13                      Confidential - Attorney's Eyes Only
14                           DEPOSITION OF BRIAN CAYTON
15
16
17
18                            Taken before Kaylin Hoag
19                                  CSR No. 14267
20                               December 13, 2023
21
22
23
24
25

                                 Veritext Legal Solutions
     www.veritext.com                                                888-391-3376
    Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 3 of 11

                                 CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                                Page 2                                                                Page 4
 1                 INDEX                                                  1           DEPOSITION OF BRIAN CAYTON
 2                                PAGE                                    2
 3 EXAMINATION BY MR. SPATZ                    5, 132, 138                3
 4 EXAMINATION BY MR. AGARWAL                        126, 137             4      BE IT REMEMBERED, that pursuant to Notice, and on
 5                                                                        5 the 13th day of December 2023, commencing at the hour of
 6                                                                        6 9:27 a.m., in the offices of Regus, 2033 Gateway
 7               EXHIBITS                                                 7 Boulevard, 6th Floor, San Jose, California, before me,
 8                                PAGE                                    8 KAYLIN HOAG, a Certified Shorthand Reporter, State of
 9 DEFENDANTS'                                                            9 California, personally appeared BRIAN CAYTON, produced as
10 Exhibit 200 Threshold marketing kit         19                        10 a witness in said action, and being by me first duly
11 Exhibit 201 Threshold April 2022                                      11 sworn, was thereupon examined as a witness in said cause.
            Newsletter                 32                                12                 ---oOo---
12                                                                       13 APPEARANCES
   Exhibit 202 Threshold Quarterly Catalog
                                                                         14 For the Plaintiff:
13          Spring 2023                 45
                                                                         15            MONTY AGARWAL
14 Exhibit 203 Customer List and Type           58
                                                                                       Vallejo Antolin Agarwal Kanter LLP
15 Exhibit 204 Customer List and Type
                                                                         16            3021 Citrus Circle, Suite 220
            No Blocking                  78
                                                                                       Walnut Creek, California 94598
16
                                                                         17            (925) 951-6970
   Exhibit 205 Sourcenaturals.com home page        81
17                                                                                     magarwal@vaakllp.com
   Exhibit 206 Source Naturals Amazon                                    18
18          storefront                84                                    For the Defendant:
19 Exhibit 207 Source Naturals Amazon                                    19
            storefront top sellers page     85                                         GEORGE SPATZ (pro hac vice)
20                                                                       20            MANON BURNS
   Exhibit 208 Source Naturals Shopify                                                 Amin Talati Wasserman, LLP
21          website                   86                                 21            549 W Randolph Street, Suite 400
22 Exhibit 209 Life Force Multiple product                                             Chicago, Illinois 60661
            page on Source Naturals Shopify 86                           22            (312) 466-1033
23                                                                                     gspatz@amintalati.com
   Exhibit 210 Life Force Multiple product                               23            manon@amintalati.com
24          page on Amazon                 87                            24
25                                                                       25

                                                                Page 3                                                               Page 5
 1 Exhibit 211 Life Force Green Multiple                                  1                   BRIAN CAYTON
            product page on Amazon           87                           2                 sworn as a witness
 2
                                                                          3               testified as follows:
   Exhibit 212 Life Force Multiple product
 3          page on iHerb             88                                  4
 4 Exhibit 213 Source Naturals Awards and                                 5 EXAMINATION BY MR. SPATZ:
            Distinctions             96                                   6      Q. Could you please state and spell your name for
 5                                                                        7 the record?
   Exhibit 214 October 9, 2003 e-mail                                     8      A. Brian Cayton; B-R-I-A-N, C-A-Y-T-O-N.
 6          correspondence            105
                                                                          9      Q. I mean, do you have a preference if I call you
 7 Exhibit 215 Life Force radio spot script 106
 8 Exhibit 216 Life Force TV spot script        107                      10 Brian or Mr. Cayton?
 9 Exhibit 217* Faxed letters             109                            11      A. Brian.
10                                                                       12      Q. Brian, okay. I will try to do that.
11                                                                       13      A. Either one. I'll answer.
12        *Exhibit not received by reporter.                             14      Q. Have you ever been deposed before?
13                                                                       15      A. I believe so.
14
                                                                         16      Q. How many times?
15
16                                                                       17      A. Twice.
17                                                                       18      Q. Okay. Do you recall what the nature of the
18                                                                       19 deposition was?
19                                                                       20      A. I really have to dig. Monty was -- I'm sure
20                                                                       21 it's related to Threshold business at some point.
21
                                                                         22      Q. Okay. And was that some time ago?
22
23                                                                       23      A. Yeah.
24                                                                       24      Q. Okay. Well, just to make sure we're on the same
25                                                                       25 page, I'll just go through, you know, just of a few of

                                                                                                                        2 (Pages 2 - 5)
                                                   Veritext Legal Solutions
www.veritext.com                                                                                                        888-391-3376
    Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 4 of 11

                              CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                        Page 6                                                        Page 8
 1 the ground rules. I'm sure you've covered it, but I want       1 today is in connection with a case that Threshold
 2 to make sure we're on the same page.                           2 Enterprises has brought against Lifeforce Digital, Inc.,
 3        First of all, we have a court reporter here. So         3 for generally speaking trademark infringement?
 4 it's important that we both speak clearly and slowly so        4    A. Yes.
 5 she can record all our words. Likewise, we shouldn't           5    Q. Can you give a brief background of your
 6 talk over each other. So I will do my best to let you          6 educational experience with the highest level achieved?
 7 finish before I start, and if you can let me finish            7    A. I got my BS at Cornell University, and I got my
 8 before you start answering, I'd appreciate that. Is that       8 JD at University of Santa Clara Law.
 9 okay?                                                          9    Q. What was your major in at Cornell?
10      A. Yes.                                                  10    A. I was in the school of industrial labor
11      Q. Okay. That's great that you said yes. The             11 relations. So that's personnel management and labor law,
12 other thing is it's very hard for her to record nods of       12 labor law legislation.
13 the head, shakes of the head. So we can have the verbal       13    Q. And did you go straight into law school after
14 yes or no, that would be appreciated. Okay?                   14 undergraduate?
15      A. Yes.                                                  15    A. I did not.
16      Q. Your lawyer may object to one of my questions.        16    Q. So what did you do after -- and what year did
17 Unless he instructs you not to answer, even after the         17 you graduate undergraduate?
18 objection, you still will give an answer. Okay?               18    A. I graduated 1976.
19      A. Yes.                                                  19    Q. So following your undergraduate, what did you
20      Q. Okay. And then this is not a marathon or a, you       20 do?
21 know, particular hardship. So if you need a break for         21    A. I found my way to California and found my way to
22 any reason, if you need to use the restroom, you know,        22 Boulder Creek to visit my college housemates and ended up
23 get more water, if you just need to stand up and stretch      23 never leaving Santa Cruz County.
24 your legs for ten seconds, let me know. I'll finish           24    Q. And did you find employment?
25 whatever question or whatever line of questions I'm on        25    A. Yes. I found employment and I worked for three
                                                        Page 7                                                        Page 9
 1 and we can take a break. Okay?                                 1 and a half years in sales and then went to law school in
 2     A. Thank you.                                              2 1980.
 3     Q. Is there any reason you would not be able to            3    Q. And do you know what company you were in sales
 4 give truthful testimony today?                                 4 for?
 5     A. No.                                                     5    A. Yes.
 6     Q. You're not on any medication or any other reason        6    Q. What was that company?
 7 that would impair your ability to give truthful                7    A. The name was Xerographic Copy Systems with an X.
 8 testimony?                                                     8    Q. And you sold copy systems?
 9     A. No.                                                     9    A. We basically sold office supplies, toner for
10     Q. Okay.                                                  10 copy machines. That was kind of a boiler room.
11       Without revealing any substance of conversations        11    Q. Okay. And then you went to law school. So that
12 with your counsel, what did you do to prepare for today's     12 would be 1980 to 1983?
13 deposition?                                                   13    A. Exactly.
14     A. Not a lot. Talked to counsel.                          14    Q. Okay. And after law school what did you do?
15     Q. And about how long did you meet with counsel?          15    A. I went into practice of law in Santa Cruz with
16     A. I didn't -- well, we just met for --                   16 an experienced lawyer named Gary Britton, B-R-I-T-T-O-N,
17     Q. Before coming in here?                                 17 and we became the law firm of Britton & Cayton. And he
18     A. -- a couple of minutes. I talked to him on the         18 was basically retiring and turning his business over to
19 phone coming in here, and we spoke at least once over the     19 me, and I did that for about three and a half years. I
20 last couple -- over the last few days.                        20 guess, should I just continue on?
21     Q. Did you speak to anybody else at Threshold             21    Q. No, no. That's fine.
22 regarding your deposition testimony today?                    22       MR. AGARWAL: Let him ask.
23     A. No other than on the phone call with                   23 BY MR. SPATZ:
24 Mr. Agarwal.                                                  24    Q. And at the law firm did you focus on any
25     Q. And you understand the testimony you're giving         25 particular area of law?

                                                                                                          3 (Pages 6 - 9)
                                              Veritext Legal Solutions
www.veritext.com                                                                                           888-391-3376
    Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 5 of 11

                             CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                     Page 10                                                         Page 12
 1    A. I would say family law and general business law.       1      A. Ira Goldberg, B-E-R-G.
 2    Q. Okay. So three and a half years would be around        2      Q. And how many people reported to you?
 3 '86/'87?                                                     3      A. Initially or eventually or...
 4    A. Yes.                                                   4      Q. Kind of in that time period of I guess it would
 5    Q. Okay. And then --                                      5 be '92 to 2005.
 6    A. Early '87.                                             6      A. 14 years. We grew a lot. So I would say when I
 7    Q. And then what did you do after --                      7 left in 2005, there might've been about 50 people that
 8    A. I left. I was basically a solo practitioner at         8 would be underneath me.
 9 that point and didn't want to be solo, wanted to work        9      Q. And then when you started in 1991?
10 with other people. And I went into practice with a --       10      A. 20.
11 with a law firm called Baskin & Grant, B-A-S-K-I-N and      11      Q. Okay. And then after May of 2005, what did you
12 Grant. I think we had five attorneys. I might've been       12 do?
13 the fifth attorney.                                         13      A. I worked for a couple of different companies.
14    Q. And then, again, did you focus on any particular      14 I...
15 area?                                                       15      Q. What companies did you work for?
16    A. Business and real estate law.                         16      A. They were kind of consulting roles. One was
17    Q. And how long were you at, I'm sorry, Baskin           17 called Farmers Express. They were brokers of fruit. I
18 and...                                                      18 think it was mostly fruit. And I worked with them for a
19    A. I would say another three and a half or so            19 bit. Another company was called I think it's Larse
20 years. I left in around November of '91. Is that right?     20 Farms. L-A-R-S-E, Larse Farms and he was a strawberry
21 November of '90? November of '90.                           21 grower and I consulted with him. And the third company I
22    Q. And following that practice what did you do?          22 worked for was a startup called Aardvark Adventures and
23    A. After having some time off, I came to work at         23 this was a company that created children's books that you
24 Threshold Enterprises in and around at the end of May of    24 could put your children's picture in, create your own
25 1991.                                                       25 book. And I was technically the -- I think it was the
                                                     Page 11                                                         Page 13
 1    Q. And have you been at Threshold uninterrupted           1 COO of that company, a startup and didn't last very long.
 2 since then?                                                  2     Q. Okay. And then after these consulting roles,
 3    A. No.                                                    3 you told me a little bit about -- you told me a little
 4    Q. Okay. So starting in May 1991, what were you           4 bit about the Aardvark Adventures having operational
 5 hired to do at Threshold?                                    5 responsibilities. In the earlier two, for the two farms,
 6    A. Sales.                                                 6 was that sales consulting or kind of what was your scope
 7    Q. And how long were you in the sales position?           7 of consulting?
 8    A. I was a salesperson for about nine months, and         8     A. Well, let's see. For Farmers Fruit I kind of
 9 then I was elevated to national sales manager.               9 helped them set up their offices, HR stuff, employment
10    Q. And as national sales manager, what was the           10 stuff, hiring. It was a small company and just helping
11 scope of your responsibilities?                             11 in various ways using, you know, my business and legal
12    A. I was in charge of the sales team.                    12 backgrounds.
13    Q. And how long were you in this position then of        13     Q. Okay. And then how long were you in these
14 national sales manager?                                     14 various consulting roles?
15    A. Until I think it was May of 2005.                     15     A. The whole period of time. From the time I left
16    Q. And in the role as national sales manager, did        16 Threshold, then I came back to Threshold as an
17 you have any other responsibilities other than the sales    17 independent contractor was May 2005 to February 2008.
18 team? Did you have responsibilities in marketing or in,     18     Q. Was there any particular reason why you left
19 you know, product development, anything of that nature?     19 Threshold?
20    A. Not responsibilities, no. I was involved in           20     A. A lot of reasons.
21 that. You know, being in sales you are interested in        21     Q. Is there a primary reason?
22 marketing and product development, but I wasn't             22     A. Needed a change.
23 responsible for that.                                       23     Q. And then when you came back in 2008, you said
24    Q. And who did you report to during that time            24 you were an independent contractor?
25 period?                                                     25     A. (Nonverbal response.)

                                                                                                       4 (Pages 10 - 13)
                                             Veritext Legal Solutions
www.veritext.com                                                                                           888-391-3376
    Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 6 of 11

                            CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                   Page 14                                                          Page 16
 1     Q. And what was your role when you came back?          1 report -- is he my boss?
 2     A. I was hired to help them achieve compliance with    2    Q. Yes.
 3 the new GMP regulations.                                   3    A. Ira Goldberg is my boss.
 4     Q. And how long were you in that position?             4    Q. Do you work with Ryan Encinas? That's
 5     A. Until I became an employee in I'm going to guess    5 E-N-C-I-N-A-S.
 6 May of 2011. It was in 2011. I don't know the exact        6    A. Marginally. He's in some meetings that I'm in.
 7 month though.                                              7    Q. And do you know the scope of his
 8     Q. When you became an employee, what was your role     8 responsibilities?
 9 at that point?                                             9    A. I believe his title might be marketing director.
10     A. My role was to continue with the GMP project and   10    Q. And is Ira Goldberg involved in the day-to-day
11 I started taking on other strategic initiatives for the   11 operations of the company at this point?
12 company and was being involved in the core management     12    A. Yes.
13 group of the company.                                     13    Q. And what role does Barry Sugarman have in the
14     Q. Can you give me example of a strategic             14 company?
15 initiative?                                               15    A. He's involved in a lot of initiatives too.
16     A. Opening up a new warehouse on the east coast.      16    Q. Do you know if he has a scope of responsibility
17     Q. And who were you reporting to at that time?        17 for the company?
18     A. Ira Goldberg.                                      18    A. When you say responsibility, I mean, I could
19     Q. And did you have direct reports while you were     19 think of involvement. I don't know the difference
20 in compliance?                                            20 between responsibility and -- when you say
21     A. No. I worked with people, but I did not            21 responsibility, you mean like that he's in charge as
22 supervise anybody.                                        22 opposed to...
23     Q. How long were you in the compliance role as an     23    Q. Yes. Is he in charge of any functions, for
24 employee?                                                 24 example, sales or marketing or regulatory?
25     A. I'm still an employee.                             25    A. I know you're going to see him tomorrow. So
                                                   Page 15                                                          Page 17
 1    Q. And you're still in the compliance role?             1 you're going to ask him whether he feels he's in charge
 2    A. Well, that's one of the roles. My title is           2 or not. I would say he's involved in at lot of things, a
 3 director of corporate development. I made it up. It        3 lot of areas in the company.
 4 just allows me to be involved in various initiatives,      4     Q. Got it. And Brody Heinrich, H-E-I-N-R-I-C-H,
 5 projects.                                                  5 what is his responsibility?
 6    Q. And do you know when you took on the title of        6     A. He's no longer with us. He is our former
 7 director of corporate development?                         7 director of sales.
 8    A. When I became an employee --                         8     Q. And did Johnny Sanchez replace him?
 9    Q. Okay.                                                9     A. Eventually. I think there was -- there was a
10    A. -- in 2011.                                         10 gap.
11    Q. And do you still have sales responsibility?         11     Q. In law school or in any of your work experience,
12    A. No. I have sales involvement but not sales          12 did you have particular classes or education in trademark
13 responsibility.                                           13 or branding law?
14    Q. And what's the scope of your sales involvement?     14     A. No.
15    A. In meetings with the sales management team and      15     Q. In preparing for -- or strike that.
16 being available. You know, my experience in the company   16       Were you involved in searching for and
17 and knowledge is sometimes asked for.                     17 collecting documents to produce in this case?
18    Q. And who -- who heads the sales management team?     18     A. I was asked if I had any documents.
19    A. The director of sales is Johnny Sanchez.            19     Q. Okay. And then did you search to see if you had
20    Q. And do you still report to Ira Goldberg?            20 any documents?
21    A. I do.                                               21     A. I did.
22    Q. And who's Carl Weissman?                            22     Q. Okay. And what did you do to search for
23    A. He is our CFO/COO.                                  23 documents?
24    Q. Do you have a reporting relationship with him?      24     A. Went to my files at my office.
25    A. I do not. When you say reporting, you mean do I     25     Q. Okay. And are those hard copy files or like

                                                                                                     5 (Pages 14 - 17)
                                            Veritext Legal Solutions
www.veritext.com                                                                                         888-391-3376
    Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 7 of 11

                             CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                     Page 18                                                       Page 20
 1 Microsoft file explorer?                                     1 BY MR. SPATZ:
 2    A. Hard copy files.                                       2     Q. Mr. Cayton, do you recognize this document?
 3    Q. Okay. Do you maintain electronic files?                3 It's a PDF I took off the Threshold website that was
 4    A. I have some, yes.                                      4 identified as a marketing kit.
 5    Q. Okay. And did you look at the electronic files?        5     A. No. I don't.
 6    A. Yes.                                                   6     Q. I'd like to ask you a couple questions about the
 7    Q. Okay. And did you communicate regularly in the         7 content in here and if you're familiar with that.
 8 corporation through e-mail?                                  8 Generally I want to understand Threshold's business and
 9    A. Now I do.                                              9 kind of what Threshold does. In the second paragraph you
10    Q. And did you search your e-mails?                      10 see it says that "Threshold offers more than 450 brands
11    A. For what?                                             11 and 18,000 products distributed through all 50 states."
12    Q. For documents.                                        12 Do you see that?
13    A. Only the -- did I search my e-mail for                13     A. I do.
14 documents? I don't -- I don't recall if I did or not. I     14     Q. Is that kind of understanding of the scope of
15 don't know. I wasn't asked for any -- any particular        15 what Threshold sells?
16 e-mails.                                                    16     A. Yes.
17    Q. Okay. And are there other methods the company         17     Q. Okay. And primarily is that third-party brands
18 uses to communicate like chat or Slack or anything like     18 that Threshold distributes?
19 that?                                                       19     A. Yes.
20    A. I think we have -- what is it? It's on -- I'm         20     Q. Okay. And Threshold also has its own brands;
21 not that computer literate. I'm sorry.                      21 correct?
22    Q. That's all right.                                     22     A. Yes.
23    A. I'm a hardcopy type of guy.                           23     Q. Okay. And what are Threshold's own brands?
24    Q. I was going to take it from your answer that you      24     A. The ones that we currently distribute are two,
25 don't regularly use?                                        25 Planetary Herbals and Source Naturals.
                                                     Page 19                                                       Page 21
 1      A. I don't but there's a chat thing when you're on    1    Q. And in the past did Threshold have more of its
 2 -- what is it?                                             2 own brands?
 3      Q. Is it Microsoft Teams?                             3    A. Yes.
 4      A. Yeah. Yeah. Okay.                                  4    Q. How long ago?
 5      Q. And you don't regularly use the Microsoft Teams    5    A. Since the time I started.
 6 functions?                                                 6    Q. Okay. And was it several additional brands or
 7      A. I don't.                                           7 one or two additional brands?
 8      Q. Okay. And did you work with anybody else to        8    A. A couple of house brands.
 9 collect documents, somebody else's documents, or you only 9     Q. Do you recall what those were?
10 looked for your own documents?                            10    A. Yes.
11      A. No. I didn't work with anybody else.              11    Q. Could you let me know?
12      Q. Mark this.                                        12    A. Yes. One was called Horizon and maybe
13        You used 1. Should we use letters?                 13 eventually it was called Horizon Nutraceuticals possibly.
14        MR. AGARWAL: Yeah, our local rules require that 14 One was Chi Power. Those are the ones that come to mind.
15 you use a different increment. So why don't you start at  15    Q. Okay. And do you know how long ago Threshold
16 200 just to be safe or 101 or something. But I think --   16 stopped selling Horizon?
17        MR. SPATZ: It requires numbers, though, or         17    A. We still might have it and use it for certain
18 should we start with A?                                   18 purposes. Horizon was like a mass market brand. I can't
19        MR. AGARWAL: No. You have to use consecutive 19 say that we're not using it. I'm not aware that we are.
20 numbering. So my preference is you start with 200, but    20 I know we're not using the Chi Power anymore.
21 it's up to you.                                           21    Q. And when did Threshold stop the Chi Power
22        MR. SPATZ: Okay. So 200.                           22 product?
23        (Defendants' Exhibit No. 200 marked                23    A. I don't know, 15 years ago or more or so.
24        for Identification.)                               24    Q. One of the things it mentions here in this
25 ///                                                       25 document is educational based marketing. Are you

                                                                                                     6 (Pages 18 - 21)
                                             Veritext Legal Solutions
www.veritext.com                                                                                         888-391-3376
    Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 8 of 11

                            CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                   Page 90                        Page 92




20       MR. AGARWAL: Object to the form -- sorry, did
21 you finish?
22       MR. SPATZ: Yes.
23       MR. AGARWAL: Object to the form of the
24 question. I'm not sure it is a question.
25       MR. SPATZ: I wasn't a question.
                                                   Page 91                        Page 93
 1      MR. AGARWAL: That's why I was asking if you
 2 were finished with the question. But I object to the
 3 characterization of prior testimony, but go ahead.
 4      MR. SPATZ: Fair enough.




                                                                      24 (Pages 90 - 93)
                                           Veritext Legal Solutions
www.veritext.com                                                          888-391-3376
    Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 9 of 11

                             CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                     Page 94                                                        Page 96
                                                                1         So we limited each one of those questions to
                                                                2 consumer confusion. Are you aware of any instances of
                                                                3 confusion that you would categorize as something other
                                                                4 than consumer confusion?
 5    Q. Are you familiar with Threshold's customer             5      A. Like a retailer?
 6 service operations?                                          6      Q. Sure.
 7    A. To a certain extent, yes.                              7      A. Me, personally, no, I'm not aware of. I haven't
 8    Q. Okay. Do you know if the customer service team         8 had any reports to me of confusion.
 9 keeps records of customer inquiries or complaints            9      Q. Are you aware of or familiar with any awards or
10 regarding products?                                         10 recognitions given to the Source Natural product line?
11    A. Complaints, adverse reactions we should. We           11      A. I'm aware of some, yeah.
12 used to and we should. But not inquires necessarily.        12      Q. Okay. Are you aware of awards given to the Life
13    Q. Do you know what system the customer service          13 Force product?
14 organization uses to track complaint reports?               14      A. I know there've been some, yes.
15    A. I don't know that we have a system. I don't           15         (Defendants' Exhibit No. 213 marked
16 know now or then. I thought it used to be in like an        16         for Identification.)
17 Excel spreadsheet or something.                             17 BY MR. SPATZ:
18    Q. Okay.                                                 18      Q. Brian, I've handed you what's been marked as
19       Are you aware of any instances of confusion           19 Exhibit 213. Do you recognize this as a listing of
20 between the Life Force products and the defendant's,        20 awards and distinctions for the Source Naturals brand
21 Lifeforce Digital, Inc.'s products?                         21 from the Source Naturals website?
22    A. When you say confusion, what do you mean?             22      A. I didn't know that this is from the website but
23    Q. Are you aware of any individuals who have             23 it's a listing of awards and distinctions.
24 reported that they were confused between what product       24      Q. Okay. Hold on one second. Did I give you a
25 they were purchasing, so between the Life Force products    25 highlighted copy?
                                                     Page 95                                                        Page 97
 1 and the defendants -- I'm going to say LDI; is that okay?  1     A. Yeah, you did.
 2 -- LDI's products?                                         2       (Off the record discussion.)
 3      A. I'm not aware of any.                              3 BY MR. SPATZ:
 4      Q. Are you aware of any instances of confusions       4     Q. And if you look on the second page of this
 5 between the companies Threshold and LDI?                   5 document, page 1391, do you see the March 2014 Delicious
 6      A. And when you say confusion, you mean consumers'    6 Living Magazine, Source Natural Life Force Vegan, best
 7 confusion?                                                 7 multiple honorable mention?
 8      Q. Yes.                                               8     A. Yes.
 9      A. I'm not aware of any.                              9     Q. Are you aware of that award or that distinction
10      Q. Okay. And are you aware of any instances of       10 for the Life Force Vegan product?
11 confusion between Threshold's commercial activities and   11     A. I don't specifically remember that.
12 LDI's commercial activities?                              12     Q. Are you familiar with the Delicious Living
13      A. Not aware of.                                     13 Magazine?
14      Q. Are you aware of whether there are systems at     14     A. Yep.
15 Threshold that would record any reports of confusion?     15     Q. Do you know its target audience?
16      A. Once again, you're talking about consumers'       16     A. I believe Delicious Living Magazine is either
17 confusion?                                                17 given away or sold in natural food stores. At least it
18      Q. Yes.                                              18 was ten years ago.
19      A. I don't know that we have a formal thing. I       19     Q. Okay. Do you know the distribution for
20 don't know that anybody who would be confused would call 20 Delicious Living Magazine?
21 you up and tell you they're confused. So it's kind of --  21       MR. AGARWAL: You mean the number of
22 it's an interesting thing that -- I don't know that       22 distribution?
23 anybody would -- it would ever exist, that someone would 23        MR. SPATZ: Yes.
24 do that.                                                  24       THE WITNESS: No.
25      Q. Okay.                                             25 ///

                                                                                                     25 (Pages 94 - 97)
                                             Veritext Legal Solutions
www.veritext.com                                                                                          888-391-3376
     Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 10 of 11

                                 CONFIDENTIAL - ATTORNEY'S EYES ONLY
                                                             Page 98                                                      Page 100
 1 BY MR. SPATZ:                                                        1 for multivitamins in 2007?
 2    Q. If you look at the next page 1392, it has                      2    A. Yes.
 3 January 2012 Source Naturals Life Force Green Multiple,              3    Q. Going down to -- skipping down to March 2005, it
 4 winner multivitamin. Do you see that?                                4 has the Whole Foods Magazine. There's two Source Natural
 5    A. Delicious Living? No, no, I'm sorry. Which                     5 Life Force multiples, the men's and the women's?
 6 one?                                                                 6    A. Yep.
 7    Q. No. It's January 2012 --                                       7    Q. Were you aware of that award in 2005?
 8    A. Taste for Life?                                                8    A. Yes.
 9    Q. -- Taste for Life.                                             9    Q. Okay. And are you familiar with what Whole
10    A. I see that.                                                   10 Foods Magazine is?
11    Q. Okay. Are you familiar with that award or                     11    A. Another natural food, healthy living type
12 distinction?                                                        12 magazine.
13    A. Not specifically.                                             13    Q. And are you familiar with the distribution?
14    Q. Are you aware of Taste for Life Essentials?                   14    A. I don't think I'm familiar with the distribution
15    A. I might've been 12 years ago, but right now I                 15 of any magazine as far as how many subscribers they have.
16 don't remember what it is.                                          16    Q. Okay. And then if you look up at 2006, the Lyle
17    Q. Okay. On the one directly below that,                         17 MacWilliam's Comparative Guide to Nutritional
18 September 2011 Better Nutrition Best Supplement Award for           18 Supplements, are you familiar with that publication?
19 Source Naturals Life Force Multiple. Do you see that?               19    A. Yes.
20    A. Yes.                                                          20    Q. Okay. And Source Naturals Life Force scored a
21    Q. Are you familiar with that award or distinction?              21 hundred percent it says on -- in that publication; is
22    A. Yes.                                                          22 that correct?
23    Q. Okay. And what was that award or distinction?                 23    A. Yep.
24    A. Better Nutrition is a magazine and they gave us               24    Q. Okay. And are -- what is the Lyle MacWilliam's
25 an award for best supplements.                                      25 Comparative Guide to Nutritional Supplements?
                                                             Page 99                                                      Page 101
 1    Q. Yeah. Are you aware of how the Life Force                      1     A. He came out with a printed guidebook of
 2 Multiple was identified for that award?                              2 nutritional supplements, multi -- multiple-ingredient
 3    A. I don't recall.                                                3 products such as Life Force and ranked them and I think
 4    Q. Do you know the distribution for Better                        4 -- and he ranked Life Force as the number one product.
 5 Nutrition?                                                           5     Q. In 2006?
 6    A. Not specifically.                                              6     A. Yes.
 7    Q. Do you know the target audience for Better                     7     Q. Are you aware of any updates or further rankings
 8 Nutrition?                                                           8 of the Life Force product after 2006 from Lyle
 9    A. People that are interested in health.                          9 MacWilliam's?
10    Q. Okay. If you go to the next page, 1393,                       10     A. Well, let's see. This says third edition. So I
11 and 2007 it has the Vitamin Retailer Vity Awards. Are               11 don't know how many -- you know, I know it came out in a
12 you familiar with the Vity Awards?                                  12 couple of editions. So I don't know if this was the last
13    A. Yeah. It's pronounced Vity but...                             13 edition or the third edition, if there was more.
14    Q. Vity. And what are those awards?                              14     Q. Okay. And if you look at the last page,
15    A. Vitamin Retailer is a magazine designed for                   15 page 1394, there's also the 2003 Lyle MacWilliam's
16 natural food retailers, and every year they give out                16 Comparative Guide to Nutritional Supplements?
17 awards in various categories.                                       17     A. Yes.
18    Q. Do you know what the distribution for the                     18     Q. Is that the original publication in which the
19 magazine is?                                                        19 Life Force Multiple was ranked?
20    A. As far as the number of people who get the                    20     A. I couldn't know, but this says third edition too
21 magazine?                                                           21 strangely.
22    Q. Yes.                                                          22     Q. Yeah, I'll represent to you the 2006 says third
23    A. No but I do know it's online too.                             23 edition updated.
24    Q. Okay. And are you familiar that -- did you know               24     A. Okay. So I don't know when the first one was.
25 that Source Natural Life Force Multiple got second place            25     Q. Following the ranking from Lyle MacWilliam's,

                                                                                                          26 (Pages 98 - 101)
                                                     Veritext Legal Solutions
www.veritext.com                                                                                                 888-391-3376
Case 5:22-cv-06483-PCP Document 93-4 Filed 05/13/24 Page 11 of 11
